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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

TAMARA JEAN FARRELL,                 )
an individual,                       )
                                     )               CASE NO.: 1:21-cv-00922-SCJ
            Plaintiff,               )
vs.                                  )
                                     )
USPG PORTFOLIO FIVE, LLC,            )
a Georgia Limited Liability Company, )
                                     )
            Defendant.               )
___________________________________/ )

             STIPULATION OF DISMISSAL WITH PREJUDICE

      Plaintiff and Defendant, pursuant to Rule 41(a)(1)(A)(ii) of the Federal

Rules of Civil Procedure, hereby stipulate to dismiss this action and all claims with

prejudice. Each party shall bear its respective fees and costs.

Dated: October 21, 2021

Respectfully submitted,                       Respectfully submitted,

/s/ John A. Moore                             /s/ E. Graham Newsome
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                                          1
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Counsel for Plaintiff                          Tel: (404) 264-1500
                                               Fax: (404) 264-1737

                                               Attorney for Defendant
                                               USPG Portfolio Five, LLC


                          CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on this 21st day of October, 2021, I

electronically filed the foregoing with the Clerk of Court by using CM/ECF system

which will send notice of electronic filing to all counsel of record.

                                                 /s/ John A. Moore
                                                 John A. Moore, Esq.




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